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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


EDWARD BRAGGS, et al.,               )
                                     )
        Plaintiffs,                  )
                                     )     CIVIL ACTION NO.
        v.                           )       2:14cv601-MHT
                                     )            (WO)
JEFFERSON S. DUNN, in his            )
official capacity as                 )
Commissioner of                      )
the Alabama Department of            )
Corrections, et al.,                 )
                                     )
        Defendants.                  )

                                 ORDER

    In reviewing the parties’ proposals for finalizing

the Phase 2A remedial orders (doc. nos. 3031 and 3032),

the court found the suggestions regarding discovery,

particularly site visits, to be unclear.                  Accordingly,

it is ORDERED that:

    (1) By 12:00 p.m. on October 21, 2020, the defendants

are to file with the court an explanation of whether,

under    their   proposal,     the   plaintiffs      would    have       the

opportunity to conduct site visits during the process of

compiling their proposed omnibus remedial order.                         The
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defendants       should    also     address       what   materials     they

anticipate       the      EMT   will    use       in     developing      its

recommendations on the content of the omnibus remedial

order,    including       whether    EMT    members      will   have     the

opportunity to conduct site visits at that time.

       (2) By 12:00 p.m. on October 21, 2020, the plaintiffs

are to file with the court an explanation of whether,

under    their    first    proposal,       they    would   request     site

visits, and whether, under their second proposal, they

anticipate that Drs. Burns and Perrien would engage in

site     visits        while    developing         their    report       and

recommendations.

       DONE, this the 20th day of October, 2020.

                                       /s/ Myron H. Thompson
                                    UNITED STATES DISTRICT JUDGE
